                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA,                                 )
                                                          )
v.                                                        )      Case No. 3:11-cr-00082
                                                          )      Judge Trauger
[1] TRAVIS GENTRY                                         )
[2] BETTY GENTRY                                          )
[7] PATRICK DEWAYNE SMITH                                 )
                                                          )

                                           ORDER

       For the reasons set forth in the accompanying Memorandum, Defendant Betty Gentry’s

Motion to Suppress Title III Wiretap Search Warrants (Docket Nos. 846, 862), in which co-

defendants Travis Gentry and Patrick Dewayne Smith joined (Docket Nos.848, 854-56), is

hereby DENIED.

       It is so ORDERED.

       Enter this 19th day of July 2012.

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                                                   ALETA A. TRAUGER
                                                   United States District Judge




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 Case 3:11-cr-00082       Document 941       Filed 07/19/12    Page 1 of 1 PageID #: 3114
